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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA

                         Case No. 5:20-CR-28-MW/MJF

UNITED STATES OF AMERICA

v.

JAMES D. FINCH, et al.

      Defendants.
                                     /

         DEFENDANT FINCH’S RESPONSE IN OPPOSITION TO
         GOVERNMENT’S MOTION FOR RECONSIDERATION

I.    Introduction
      The government moves for reconsideration of this Court’s carefully drafted

opinion dismissing without prejudice for the second time a fatally flawed, over-

arching, “kitchen sink” conspiracy count.      Without even addressing the legal

standard applicable to motions for reconsideration, the government provides no new

evidence, no intervening change in controlling law, and no need to correct a clear

error of law. Nothing in the convoluted, difficult-to-follow Motion demonstrates a

rationale to overturn two previously entered, carefully considered opinions. At their

core, the government’s arguments appear to simply disagree with the Court’s

demand for precise drafting and adherence to controlling law. Respectfully, the

Court should deny the government’s Motion for Reconsideration.
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II.    History and Posture

       Considering the history here, the government’s Motion for Reconsideration is

effectively a second motion for reconsideration.        In other words, this is the

government’s third bite at the apple to charge a legally sufficient conspiracy charge.

       The first bite occurred on March 16, 2021, when the Grand Jury returned a

43-count Superseding Indictment adding James Finch and former Lynn Haven City

Commissioner Antonius Barnes to a conspiracy count that involved multiple

unrelated projects. ECF No. 64. Anderson’s and Finch’s counsel challenged Count

1 of the Superseding Indictment, arguing that it violated the well-settled doctrine of

duplicity. ECF No. 149. Following extensive pleadings and multiple days of oral

argument, the Court issued the August 19, 2021, Order granting the Defendant’s

Motion to Dismiss, finding that “the Government could identify no facts alleged in

the Superseding Indictment tying the WorldClaim or ECS schemes to the remaining

allegations conspiracy . . . [n]or is there any allegation that Finch had any knowledge

of either scheme.” ECF No. 185 at 6. The Court found “that ECF and WorldClaim

are separate conspiracies” and therefore Count 1 was duplicitous. Id. Following the

dismissal of Count 1, and with leave of Court, the government requested an

opportunity “to take another stab at Count—at the conspiracy allegations” and figure

out “how to charge them in light of the Court’s ruling.” ECF No. 187, Hr’g Tr. at

97.



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      The second bite at the apple occurred on November 16, 2021, with the return

of a 26-count Second Superseding Indictment against Anderson and Finch, ECF No.

214, containing virtually the exact, same, over-arching honest services fraud count

involving and incorporating exactly the same “projects.” Defendant Finch, again,

moved to dismiss for charging multiple conspiracies within a single charge.1 ECF

No. 225. In a carefully reasoned order, the Court concluded that Count 1 of the

Second Superseding Indictment “falls short because it leaves the charged

conspiracy’s scope ambiguous, combining an open-ended list of matters within the

conspiracy with dozens of paragraphs of allegations unrelated to the matters

specifically enumerated on the list.” ECF No. 293 at 7. Accordingly, the Court

again properly dismissed the over-arching duplicitous conspiracy count without

prejudice. Id. After being allowed time to develop a legally compliant strategy, the

government, without explanation, announced that it would not be returning to the

Grand Jury to retool what is clearly a deficiently pled count. See ECF No. 317 at 1


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  In the Motion to Dismiss the Second Superseding Indictment, Finch asked this
Court to dismiss the entire charging document for incorporating multiple conspiracy
allegations into every charge. ECF No. 225 at 14 n.10. The Court denied Finch’s
requested relief, finding that the non-conspiracy counts were not duplicitous because
each substantive wire fraud count charged one wire transmission. ECF 293 at 8.
The Court should take note that the government, however, sees “little daylight
between a conspiracy to commit honest services fraud and substantive honest
services fraud.” ECF No. 317 at 1 n.1. Accordingly, it pledges to seek to introduce
the “kitchen sink” evidence of multiple unrelated conspiracy theories within a trial
with no conspiracy charge, at least two of which have nothing to do with James
Finch.

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n.1.

        Instead, the government has chosen to take a third bite at the apple, filing a

legally and factually dubious Motion for Reconsideration. In truth, there is nothing

in the current Motion that was not raised and argued in the first 41-page response,

ECF 159, the second 80-page response, ECF No. 238, and final 218-page post-

hearing response, ECF No. 280. In less coherent fashion, the current Motion simply

raises nothing new. As a result, respectfully, the Court should deny the Motion,

rejecting the convoluted request to resurrect the legally deficient, over-arching

conspiracy count.

III.    Legal Standard
         The Federal Rules of Criminal Procedure do not specifically authorize

 motions for reconsideration, but the United States Supreme Court and the Eleventh

 Circuit have permitted parties to file such motions in criminal cases. Serrano v.

 United States, 411 F. App’x 253, 254-55 (11th Cir. 2011). In deciding such

 motions, courts use the standards applicable in civil cases. See, e.g., United States

 v. Pugh, 426 F. App’x 876, 876 (11th Cir. 2011) (noting that the same standard of

 review applies to orders on both criminal and civil motions to reconsider) (citations

 omitted).

        Federal Rules of Civil Procedure 59 and 60 govern motions for

reconsideration. Rule 59(e) allows a court to amend or alter its judgment for 28



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days. Fed. R. Civ. P. 59(e). “The only grounds for granting a Rule 59 motion are

newly discovered evidence or manifest errors of law or fact.” Arthur v. King, 500

F.3d 1335, 1343 (11th Cir. 2007) (quotations and citations omitted). Likewise, Rule

60 allows a court to relieve a party from an order for select reasons like “mistake,

inadvertence, surprise, or excusable neglect.” Fed. R. Civ. P. 60(b).

       Under this framework, courts have interpreted three grounds for reconsidering

an order: “(1) an intervening change in controlling law; (2) the availability of new

evidence; and (3) the need to correct clear error or manifest injustice.” United States

v. Faircloth, No. 2:14-cr-76-FtM-38MRM, 2020 WL 3205791, at *2 (M.D. Fla. June

15, 2020) (citation omitted); see also United States v. Farias, No. 13-20460-CR,

2014 WL 4930641, at *1 (S.D. Fla. Oct. 1, 2014), aff’d, 836 F.3d 1315 (11th Cir.

2016) (same).

       “The burden is upon the movant to establish the extraordinary circumstances

supporting reconsideration.” Mannings v. Sch. Bd. of Hillsboro Cnty., Fla., 149

F.R.D. 235, 235 (M.D. Fla. 1993) (emphasis added). Finally, a court has

considerable discretion in deciding whether to grant a motion for reconsideration.

See Drago v. Jenne, 453 F.3d 1301, 1305 (11th Cir. 2006).

IV.    Argument

       Motions for reconsideration cannot simply ask a court to reexamine an

unfavorable ruling. See Jacobs v. Tempur-Pedic Int’l., Inc., 626 F.3d 1327, 1344



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(11th Cir. 2010). Nor can such motions be used “to relitigate old matters, raise

argument or present evidence that could have been raised prior to the” court’s

decision. Michael Linet, Inc. v. Village of Wellington, Fla., 408 F.3d 757, 763 (11th

Cir. 2005).

      Here, the Court correctly and accurately concluded that the government’s

draftsmanship of Count 1 of the Second Superseding Indictment “is most naturally

read as containing a non-exhaustive list of schemes” despite claiming that the charge

related to “specific matters.” ECF 293 at 6. The government’s arguments for

reconsideration fall well short of the Eleventh Circuit’s framework. It provides no

intervening change in controlling law and offers no new evidence. 2 It merely argues

that the Court’s interpretation of paragraph 125 of the Second Superseding

Indictment is “unfair.” ECF No. 317 at 11.3 A hollow cry of “unfairness” falls

woefully short of clear error or manifest injustice warranting even a modicum of

consideration.



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 Indeed, since the initial decision dismissing the over-arching conspiracy count, the
Court has required the production of all agent reports and notes. The actual evidence
as reflected in the written reports and notes is shockingly nonexistent.
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  The government also claims that the Court’s conclusions preclude all future
charges involving an alleged retainer theory of bribery and cites to the Eleventh
Circuit case United States v. Roberson, 998 F.3d 1237 (11th Cir. 2021). ECF No.
317 at 12. Of course, the Court’s decision does no such thing. The government
ignores the fact that unlike the Second Superseding Indictment in this case, the
Roberson indictment did not include a conspiracy charge under 18 U.S.C. § 1349.

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      In reality, the government simply finds it “unfair” that it is being required to

respect the rule of law and the Defendants’ Constitutional right to a fair trial. Indeed,

what is fair is that a federal criminal indictment be drafted and returned with

precision and detail as required by law. What is fair is that an indictment does not

charge multiple conspiracies. What is fair is a prosecution absent of government

recklessness and overreach. See ECF No. 312 (finding that the government’s

“conduct in this case falls well short of this Court’s expectations.”). What is fair is

insisting that the sovereign remedy “shortcomings” and not conduct itself in a “less

than laudable” manner. Id. at 12. What is fair is a Grand Jury presentation that is

not “misleading” and presented in a “fast and loose way.” Id. at 30. What is unfair?

A prosecution conducted in a “reckless, careless, and unprofessional” manner. Id.

at 38. Again, the hollow, faint cry of unfairness should be summarily rejected.

      Besides the “fairness” argument, the government complains about the Court’s

appropriate chosen remedy for the duplicitous conspiracy count. ECF No. 317 at

16-17 (claiming that the Court imposed a drastic remedy when a lesser remedy

would suffice).     Again, the government provides no intervening change in

controlling law that prohibits the Court’s elected remedy. Indeed, the Court’s

discretion to choose the appropriate remedy upon finding Count 1 was duplicitous

was extensively briefed and carefully considered. See ECF No. 185 at 7 (“In this

case, however, a less drastic ruling will not suffice. As Defendants persuasively



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argued, and the Government largely acknowledged, it is simply not possible to

disentangle the allegations in Count 1 [of the Superseding Indictment]. Thus,

forcing the Government to elect which conspiracy to pursue cannot cure the issues

duplicity creates. For the same reason, a curative jury instruction will also not

suffice.”); ECF No. 225 at 14-18; ECF No. 293 at 7 (“Count 1 [of the Second

Superseding Indictment] falls short because it leaves the charged conspiracy’s scope

ambiguous, combining an open-ended list of matters within the conspiracy with

dozens of paragraphs of allegations unrelated to the matters specifically enumerated

on the list.”).

       Contrary to the government’s arguments, case law strongly supports the

Court’s conclusion and discretion to fashion appropriate relief “according to the

particular harm or harms to be avoided” in a particular case. Sturdivant, 244 F.3d at

79. The government provides no controlling authority requiring its requested

relief—forced election of charges and special instructions. ECF No. 317 at 17. In

fact, other United States District Courts, like this one, have reasonably concluded

that dismissal of a duplicitous charge is an appropriate remedy where the defect in

the indictment is recognized before trial. See, e.g., United States v. Marlinga, No.

CRIM 04–80372, 2005 WL 513494, *6 (E.D. Mich. Feb. 28, 2005).

       Furthermore, the government’s suggested remedy is illogical.              The

government concedes that it had the opportunity to return a Third Superseding



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Indictment after dismissal of Count 1 without prejudice. But the government has

chosen not to pursue this route. Instead, as a matter of tactics, it has chosen to try to

get around the two previous orders. How? It intends to offer evidence of the ECS

and WorldClaim conspiracies during its case-in-chief against Defendant Finch. ECF

No. 317 at 19 n.10. This flies directly in the face of the Court’s prior ruling that “the

Government could identify no facts alleged in the Superseding Indictment tying the

WorldClaim or ECS schemes to the remaining allegations conspiracy . . . [n]or is

there any allegation that Finch had any knowledge of either scheme.” ECF No. 185

at 6. Following the government’s ill-conceived logic, it will likely suggest that the

Barnes allegations can be introduced against Defendant Anderson as well, despite

there being zero evidence connecting her to the Barnes loan. As a result, the

defendant’s impending motions for severance or to strike allegations are duly

warranted. The fact that the Second Superseding Indictment contains multiple

conspiracy allegations that ultimately cannot be joined under Federal Rule of

Criminal Procedure 8, however, provides further reason to dismiss the whole

indictment rather than to order an alternative form of relief. See, e.g., Marlinga,

2005 WL 513494, at *7 (finding single count charging multiple conspiracies to be

“duplicitous,” and concluding that “[b]ecause of the Court’s finding that misjoinder

has occurred [under Rule 8] . . . a single superceding [sic] indictment charging two

conspiracies is not appropriate.”).        The real purpose of the Motion for



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Reconsideration is to avoid yet another flawed Grand Jury presentation and blunt the

coming attacks on the remaining substantive counts of the Second Superseding

Indictment, which re-incorporate by reference the same entangled allegations in each

and every count. ECF No. 317 at 2 n.1 (“But favorable reconsideration of the

Court’s prior order might moot at least part of such another defense attack.”).

V.    Conclusion

      Respectfully, the Court should deny the government’s Motion for

Reconsideration because it has not provided an intervening change in controlling

law, provided the availability of new evidence, or articulated a need to correct clear

error or manifest injustice. Rather, it asks this Court to re-examine an immanently

appropriate unfavorable ruling to avoid attacks on the remaining counts. The Court

ruled correctly. It followed the law. The Motion for Reconsideration should be

denied.



                    LOCAL RULE 7.1(F) CERTIFICATION

      Pursuant to Local Rule 7.1(F), the undersigned certifies that this reply does

not exceed 8,000 words and contains 2,234 words pursuant to the word count

provided by Microsoft Word.




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                                       Respectfully submitted,

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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on July 25, 2022, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF and that a true and

correct copy of the foregoing has been served electronically via the CM/ECF System

on all counsel of record.



                                 /s/ Guy A. Lewis
                                 GUY A. LEWIS




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